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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 19-20946-CV-WILLIAMS

   CHARLES JONES,

          Petitioner,

   v.

   JANE DOE, et al.,

          Defendants.
                                      /

                                            ORDER

          THIS MATTER is before the Court on pending motions for extension of the Court’s

   pre-trial deadlines, and for explanation and issuance of a subpoena to a non-party, all

   dealing in relevant part with the necessity of obtaining copies of the October and

   November 2017 Florida Department of Corrections (“FDOC”) Incident Reports involving

   the stabbing of Plaintiff Charles Jones (“Plaintiff”), which relate to the allegations

   underlying this civil rights action filed pursuant to 42 U.S.C. § 1983. [ECF Nos. 89, 91,

   93, 96]. Defendant Everston explains that he is no longer employed by FDOC and

   requires written authorization from Plaintiff to obtain the Incident Reports and Plaintiff’s

   confinement records. [Id.]. Therefore, Defendant Everston states that the extension is

   necessary to obtain and review the records and, if supported by the materials, prepare a

   motion for summary judgment. [Id. at pp. 2-3].

          Plaintiff also seeks an extension of the pre-trial deadlines, explaining he has been

   trying to obtain copies of the October and November 2017 Incident Reports without

   success.    [ECF Nos. 89, 91, 96].        It is undisputed that Plaintiff has attempted

   unsuccessfully to obtain issuance of a subpoena to Francisco Acosta, a non-party, in
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   order to secure copies of these reports. Plaintiff explains that he needs the Incident

   Reports and the employee logs for the “L Dorm day shift” for October 28, 2017 and

   November 1, 2017 in order to assist him in identifying the John Does. [Id.]. Upon review

   of the Motions and record, it is ORDERED AND ADJUDGED as follows:

           1.    The Motions [ECF Nos. 89, 93] for extension of the Court’s Pre-trial

   Scheduling Order deadlines are GRANTED to the extent that the pre-trial deadlines are

   amended as follows: (a) Discovery shall be completed on or before June 8, 2021;

   (b) Dispositive motions shall be filed on or before July 6, 2021; and, (c) Pre-trial

   stipulations and statements shall be filed on or before July 27, 2021.

           2.    On or before FIFTEEN DAYS from the date of this Order, Defendant shall

   serve upon Plaintiff a written authorization form for Plaintiff’s signature, so that Defendant

   may obtain the FDOC Incident Reports and Plaintiff’s confinement records. Defendant

   shall file a notice with the Court that it has submitted a proposed authorization form to the

   Plaintiff.

           3.    On or before FIFTEEN DAYS of receipt of the authorization form from

   Defendant, Plaintiff shall execute and return the form to Defendant, and shall file a notice

   with the Court confirming that this has been done.

           4.    Defendant must ensure that his request to the FDOC includes a request for

   copies of Plaintiff’s confinement records, the October and November 2017 Incident

   Reports, and to the extent within the FDOC’s possession, copies of any logs for the “L

   Dorm day shift” for October 28, 2017 and November 1, 2017. Within FIFTEEN DAYS of




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   receipt of these records, Defendant shall provide a copy of the discovery to Plaintiff and

   file a notice with the Court that this has been done.

           5.    Since this Court is ordering that copies of the Incident Reports be provided

   by Defendant to Plaintiff, Plaintiff’s “Motion for Clarification” [ECF No. 91] and Subpoena,

   docketed as a “Motion for Production” [ECF No. 96] are DENIED AS MOOT. Plaintiff

   need not issue a non-party subpoena upon Acosta in order to attempt to obtain the

   Incident Reports which will be provided by Defendant as ordered.

           6.    Plaintiff shall have THIRTY DAYS from the date the discovery is received

   from Defendant to file a notice with the Court identifying the John/Jane Does.

           DONE AND ORDERED in chambers in Miami, Florida, this 10th day of March,

   2021.




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